                                                  Case No: 13-03548-RSM
                          UNITED STATES BANKRUPTCY COURT

                                          MIDDLE DISTRICT OF TENNESSEE

In re:   CARLOS ADAMS AND STACY LEANN ADAMS                                               Case no: 13-03548-RSM
                                                      Chapter: 13
Property Address: 1066   FLEET TOWN ROAD, DICKSON, TN 37055
Last four of any number you use to identity the debtor's account: 4367
Court Claim No. (if known). 7
                         RESPONSE TO NOTICE OF FINAL CURE PAYMENT


As contemplated by Fed. R. Bankr. Proc. 3002
BSI Financial Services
(“Creditor”) hereby responds to that certain Notice of Final Cure Payment dated 07/31/2018 and filed as Docket No. 46.

                                        Pre-Petition Default Payments
X Agrees that Debtor(s) has paid in full the amount required to cure the default on the Creditor's claim

Total Amount Due:         $0.00



                                       Post-Petition Default Payments
X Agrees that Debtor(s) is current with respect to all payments consistent with 1322(b)(5) of the Bankruptcy Code.

Total Amount Due:         $0.00




The amounts due identified on this statement may not, due to timing, reflect all payments sent to Creditor as of the date of
the Cure Notice. In addition, the amounts due may include payments reflected on the NDC but which have not yet been
received and/or processed by Creditor.




   Case 3:13-bk-03548             Doc 48      Filed 08/03/18 Entered 08/03/18 14:37:41                      Desc Main
                                              Document     Page 1 of 3
                                            Case No: 13-03548-RSM
                    UNITED STATES BANKRUPTCY COURT

The person completing this Notice must sign it. Sign and print your name and your title (if any), and
state your address and telephone number if different from the notice address listed on the proof of
claim to which this supplement applies.

__ I am the Creditor                    X       I am the Creditor's authorized agent/counsel (attach copy
                                                of power of attorney, if any).

I declare under penalty of perjury that the information provided in this Statement in Response to Notice
of Final Cure Payment is true and correct to the best of my knowledge, information and reasonable
belief.

/s/Lisa F. Caplan      August 3, 2018
Signature                      Date

Lisa F. Caplan
Title: Attorney for Creditor
Rubin Lublin TN, PLLC
119 S. Main Street, Suite 500
Memphis, TN 38103
(877) 813-0992




  Case 3:13-bk-03548         Doc 48     Filed 08/03/18 Entered 08/03/18 14:37:41             Desc Main
                                        Document     Page 2 of 3
                                    CERTIFICATE OF SERVICE


       I, Lisa F. Caplan of Rubin Lublin TN, PLLC certify that on the 3rd day of August, 2018, I
caused a copy of the Response to Notice of Final Cure Payment to be filed in this proceeding by
electronic means and to be served by depositing a copy of the same in the United States Mail in a
properly addressed envelope with adequate postage thereon to the said parties as follows:


CARLOS ADAMS
1066 FLEET TOWN ROAD
Dickson, TN 37055

STACY LEANN ADAMS
1066 FLEET TOWN ROAD
Dickson, TN 37055

James Alan Flexer, Esq.
FLEXER LAW, PLLC
1900 CHURCH STREET
SUITE 400
NASHVILLE, TN 37203

Henry Edward Hildebrand, III
Office of the Chapter 13 Trustee
PO BOX 340019
Nashville, TN 37203

Executed on 8/3/18
By:/s/ Lisa F. Caplan
Lisa F. Caplan
TN BPR No. 028887
Rubin Lublin TN, PLLC
119 S. Main Street, Suite 500
Memphis, TN 38103
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor




  Case 3:13-bk-03548       Doc 48    Filed 08/03/18 Entered 08/03/18 14:37:41            Desc Main
                                     Document     Page 3 of 3
